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 1   CLEMENTE M. JIMÉNEZ, ESQ.
     California State Bar Number 207136
 2
     431 I Street, Suite 102
 3   Sacramento, CA 95814
     (916) 443-8055
 4
 5   Attorney for Defendant
     VICTOR VASQUEZ-HERAS
 6
 7                                IN THE UNITED STATES DISTRICT COURT
 8
                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                       Case No.: 14-276 JAM
11
12                         Plaintiff,                STIPULATION AND ORDER
                                                     MODIFYING BRIEFING SCHEDULE
13             vs.
14                                                   DATE: March 8, 2016
     GABRIEL SILVA-SOTO, et al.,                     TIME: 9:15 a.m.
15                                                   JUDGE: Hon. John A. Mendez
16
                           Defendants.
17
18            IT IS HEREBY STIPULATED by and between Assistant United States Attorney
19   Samuel Wong, Counsel for Plaintiff, and Attorneys Clemente M. Jiménez, Counsel for
20   Defendant VICTOR VASQUEZ-HERAS; Bradford Weston, III, Counsel for GABRIEL
21   SILVA-SOTO; Timothy Zindel, Counsel for YASMIN RICO; Kyle R. Knapp, Counsel
22   for ELPIDIO PEDRIZCO-MATA; Dina L. Santos, Counsel for RIGOBERTO IBANEZ-
23   ROJAS; Michael E. Hansen, Counsel for ELODIO MORFIN-SOTO; Michael D. Long,
24   Counsel for PEDRO ROJAS-GARCIA; Richard L. Bobus, Counsel for JUAN LIRA-
25   DEJESUS; Mark J. Reichel, Counsel for APOLINAR BAUTISTA-RUIZ; Olaf W.
26   Hedberg, Counsel for MARCIAL ABRAHAM-MONTALVO; Christopher R. Cosca,
27   Counsel for PORFIRIO VASQUEZ-HERAZ; Kristy Kellogg, Counsel for MAURILIO
28   VASQUEZ-HERAZ; and John R. Manning, Counsel for JESSICA JUAREZ, that the



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 1   briefing schedule relating to Defendant Victor Vasquez-Heras’ Motion to Suppress be
 2   modified as follows:
 3   Defense Motion due: 4/19/16
 4   Government’s Opposition due: 5/24/16
 5   Defense Reply due: 6/7/16
 6   Non-Evidentiary Hearing: 6/21/16 at 9:15 a.m.
 7            The parties request the above-noted briefing schedule to allow for continued
 8   settlement discussions and for counsel to confer with his client, and to prepare the motion
 9   to suppress in the event that this case is not settled. The parties further request that the
10   Court find and order that: (1) the denial of the modification of the briefing schedule and
11   resulting continuance in any trial of this case, would deny counsel for defendant
12   VASQUEZ-HERAS reasonable time to prepare, taking into account the exercise of due

13   diligence; (2) the ends of justice served by the modification of the briefing schedule and

14   resulting continuance in any trial of this case outweigh the best interests of the public and

15   the defendants in a Speedy Trial; and (3) time from the date of this Stipulation, March 7,

16   2016, to and including April 19, 2016, be excluded from computation of time within

17   which the trial of this case must be commenced under the Speedy Trial Act under 18

18   U.S.C. § 3161(h)(A) and (B)(iv) and Local Code T4 (pertaining to defense counsel's

19   preparation).

20                                               BENJAMIN B. WAGNER

21                                               United States Attorney

22   DATED:                March 7, 2016         /S/    Samuel Wong               ________
                                                 SAMUEL WONG
23                                               Assistant United States Attorney
                                                 Attorney for Plaintiff
24
25                                               /S/   Bradford Weston, III  ________
                                                 BRADFORD WESTON, III
26
                                                 Attorney for GABRIEL SILVA-SOTO
27   //
28
     //



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 1                                           /S/   Timothy Zindel          ________
                                             TIMOTHY ZINDEL
 2
                                             Attorney for YASMIN RICO
 3
                                             /S/   Kyle R. Knapp         ________
 4                                           KYLE R. KNAPP
 5                                           Attorney for ELPIDIO PEDRIZCO-MATA
 6                                           /S/   Dina L. Santos       ________
 7                                           DINA L. SANTOS
                                             Attorney for RIGOBERTO IBANEZ-ROJAS
 8
 9                                           /S/   Michael E. Hansen     ________
                                             MICHAEL E. HANSEN
10                                           Attorney for ELODIO MORFIN-SOTO
11
                                             /S/   Michael D. Long      ________
12                                           MICHAEL D. LONG
13                                           Attorney for PEDRO ROJAS-GARCIA

14                                           /S/   Richard L. Bobus      ________
15                                           RICHARD L. BOBUS
                                             Attorney for JUAN LIRA-DEJESUS
16
17                                           /S/   Mark J. Reichel      ________
                                             MARK J. REICHEL
18                                           Attorney for APOLINAR BAUTISTA-RUIZ
19
                                             /S/   Olaf W. Hedberg     ________
20                                           OLAF W. HEDBERG
21                                           Attorney for MARCIAL ABRAHAM-
                                             MONTALVO
22
23                                           /S/   Christopher R. Cosca  ________
                                             CHRISTOPHER R. COSCA
24                                           Attorney for PORFIRIO VASQUEZ-HERAZ
25
                                             /S/   Kristy Kellogg       ________
26                                           KRISTY KELLOGG
                                             Attorney for MAURILIO VASQUEZ-HERAZ
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28   //



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 1                                              /S/   John R. Manning       ________
                                                JOHN R. MANNING
 2
                                                Attorney for JESSICA JUAREZ
 3
 4
 5                                             ORDER
 6            The Court having received, read, and considered the parties' stipulation, and good
 7   cause appearing therefrom, the Court adopts the parties' stipulation as its order in its
 8   entirety.
 9            IT IS FURTHER ORDERED that the briefing schedule be so modified and that a
10   non-evidentiary hearing be scheduled for June 21, 2016 at 9:15 a.m.
11   This 11th day of March, 2016
12
                                                       /s/ John A. Mendez____________
13                                                     Hon. John A. Mendez
14                                                     United States District Court Judge

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